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5
     Attorney for HUNG QUE TRAN,
6    Defendant
7
                            IN THE UNITED STATES DISTRICT COURT
8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                  No. 2:96-CR-350-07 WBS
11

12                    Plaintiff,

13         v.                                  STIPULATION AND ORDER
                                               TERMINATING PROBATION
14   HUNG QUE TRAN,

15                    Defendant.

16

17         On this date, the defendant, Hung Que Tran, paid a $5,000.00 fine and a $50

18   penalty assessment to the Clerk of this Court. Accordingly, it is hereby stipulated and

19   agreed by and between the parties hereto, through their respective counsel, that the

20   term of probation imposed by this Court shall be terminated.

21

22   Dated: July 13, 2015                         /s/ Candace A. Fry
                                              CANDACE A. FRY, Attorney for
23                                            HUNG QUE TRAN, Defendant
24

25   Dated: July 13, 2015                     BENJAMIN B. WAGNER
                                              United States Attorney
26
                                              By    /s/ Candace A. Fry for
27                                            WILLIAM S. WONG, Assistant
28                                            United States Attorney

                                                 1
      Case 2:96-cr-00350-WBS Document 944 Filed 07/16/15 Page 2 of 2


1
                                 ORDER
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           IT IS SO ORDERED.
4
     Dated: July 15, 2015
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